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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

KYLE SULLIVAN and JEANNE
SLOAN, individually and on behalf
of all others similarly situated,                   Case No. 1:16-cv-00960-JTN-ESC

                       Plaintiffs,
                                                    HON. JANET T. NEFF
       v.


WENNER MEDIA LLC, a Delaware
corporation,

                              Defendant.

                    SETTLEMENT ORDER AND FINAL JUDGMENT

       THIS MATTER came before the Court on Representative Plaintiffs’ motion for final

approval of the proposed class settlement (the “Settlement”). The Court has considered all papers

filed and proceedings in this matter and is fully informed regarding the facts surrounding the

proposed Settlement. Based upon this information, the Court has determined to approve the

proposed Settlement as fair, reasonable, and adequate. The Court hereby enters this Settlement

Order and Final Judgment (“Final Judgment”), which constitutes a final adjudication on the merits

of all claims of the Settlement Class.

       On December 19, 2017, this Court granted preliminary approval to the proposed Settlement

between Representative Plaintiffs and Defendant Wenner Media LLC. The proposed Settlement

resolves all of the Settlement Class’s claims against Defendant in exchange for Defendant’s

agreement to provide certain monetary and non-monetary relief to Settlement Class Members as
                               May 22,
set forth in the Agreement. On ____________, 2018, this Court held a Settlement Hearing to

consider whether to grant final approval to the Settlement and to consider Class Counsel’s

application for an award of attorneys’ fees and costs (“Fee Application”), and Incentive Award to

the Representative Plaintiffs. The Court heard argument from counsel in support of the Settlement

and/or the Fee Application.
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       Having read, reviewed and considered the papers filed in support of final approval of the

Settlement, including supporting declarations, oral arguments of counsel, Class Counsel’s Fee

Application, the Agreement, and the pleadings, the Court finds and concludes as follows:

       1.       Definitions. The definitions and provisions of the Settlement Agreement and

Release of Claims (the “Agreement”) are incorporated in this Final Judgment as though fully set

forth herein.

       2.       Jurisdiction. This Court has jurisdiction over the subject matter of the Agreement

with respect to and over all parties to the Agreement, including Representative Plaintiffs and all
members of the Settlement Class.

       3.       Settlement Approval. The Court hereby grants final approval to the Settlement and

finds the Settlement is, in all respects, fair, reasonable, and adequate, and in the best interests of

the Settlement Class. The Court finds the Settlement is within the authority of the parties and the

result of extensive arm’s length negotiations with the guidance of an experienced mediator.

       4.       Class Certification. This Court confirms the proposed Settlement Class satisfies

the requirements of Fed. R. Civ. P. 23, as found in the Court’s Order Granting Preliminary

Approval of Class Action Settlement (“Preliminary Approval Order”). Accordingly, this Court

makes final the conditional class certification set forth in the Preliminary Approval Order.

       5.       Exclusion from Settlement Class. Certain members of the Settlement Class have
timely requested to be excluded from the Class and the Settlement. Exhibit A, attached hereto,

lists the Settlement Class Members who timely requested exclusion from the Settlement Class.

Accordingly, this Final Judgment shall not bind or affect Settlement Class Members listed on

Exhibit A.

       6.       Objections. No objections to the Settlement, the Fee Application, or the request for

Incentive Awards were brought to the Court’s attention, whether properly filed or not.

       7.       No Admission. Neither this Final Judgment nor the Agreement is an admission or

concession by Defendant of the validity of any claims or of any liability or wrongdoing or of any

violation of law. This Final Judgment and the Agreement do not constitute a concession and shall

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not be used as an admission or indication of any wrongdoing, fault or omission by Defendant or

any other person in connection with any transaction, event or occurrence, and neither this Final

Judgment nor the Agreement nor any related documents in this proceeding, nor any reports or

accounts thereof, shall be offered or received in evidence in any civil, criminal, or administrative

action or proceeding, other than such proceedings as may be necessary to consummate or enforce

this Final Judgment, the Agreement, and all releases given thereunder, or to establish the

affirmative defenses of res judicata or collateral estoppel barring the pursuit of claims released in

the Agreement.
       8.     Dismissal with Prejudice. This Court hereby dismisses with prejudice all claims

of members of the Settlement Class against Defendant that arise out of or relate in any way to

disclosure of Settlement Class Members’ personal information, including but not limited to, their

name, address, and/or their subscription history, regardless of the theory of recovery or alleged

wrongdoing as set forth in the Agreement.

       9.     Release. Representative Plaintiffs, for themselves and as the representatives of the

Settlement Class, and on behalf of each Settlement Class Member who has not timely opted out

and each of their respective agents, successors, heirs, assigns, and any other person who can claim

by or through them in any manner, fully, finally, and forever irrevocably release, relinquish, and

forever discharge with prejudice all Released Claims against the Released Parties.
       10.    Injunction Against Asserting Released Claims. Representative Plaintiffs, all

Settlement Class Members, and any person or entity allegedly acting on behalf of Settlement Class

Members, either directly, representatively or in any other capacity, are permanently enjoined from

commencing or prosecuting against the Released Parties any action or proceeding in any court or

tribunal asserting any of the Released Claims, provided, however, that this injunction shall not

apply to individual claims of any Settlement Class Members listed in Exhibit A who timely

requested exclusion from the Settlement Class. This injunction is necessary to protect and

effectuate the settlement, this Order, and the Court’s flexibility and authority to effectuate this



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settlement and to enter judgment when appropriate, and is ordered in aid of the Court’s jurisdiction

and to protect its judgments pursuant to 28 U.S.C. § 1651(a).

       11.    General Release Acknowledgement. By operation of this Final Judgment, the

Representative Plaintiffs and Defendant expressly waive, and each Settlement Class Member is

deemed to have waived, any and all claims, rights, or benefits they may have under California

Civil Code § 1542 and any similar federal or state law, right, rule, or legal principle that may apply.

California Civil Code § 1542 provides as follows:

               A general release does not extend to claims which the creditor does
               not know or suspect to exist in his or her favor at the time of
               executing the release, which if known by him or her must have
               materially affected his or her settlement with the debtor.
       12.    Class Notice. The Settlement Administrator completed the delivery of Class Notice

according to the terms of the Agreement. The Class Notice given by the Settlement Administrator

to the Settlement Class, which set forth the principal terms of the Agreement and other matters,

was the best practicable notice under the circumstances. The Class Notice program prescribed by

the Agreement was reasonable and provided due and adequate notice of these proceedings and of

the matters set forth therein, including the terms of the Agreement, to all parties entitled to such

notice. The Class Notice given to the Settlement Class Members satisfied the requirements of

Federal Rule of Civil Procedure 23 and the requirements of constitutional due process. The Class

Notice was reasonably calculated under the circumstances to apprise Settlement Class Members

of the pendency of this Action, all material elements of the Settlement, and their opportunity to

exclude themselves from, object to, or comment on the Settlement and appear at the Settlement

Hearing. The Court has afforded a full opportunity to all Settlement Class Members to be heard.

Accordingly, the Court determines that all members of the Settlement Class, except those who

timely excluded themselves from the Class, are bound by this Final Judgment.

       13.    Notifications to Appropriate Federal and State Officials. Within ten (10) days
after the filing of the proposed Agreement in this Court, Defendant caused a notice of the proposed

Settlement to be served upon the appropriate state official of each State in which a Class member

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resides and upon the Attorney General of the United States. The Court finds that the notice

provided by Defendant satisfied the requirements of 28 U.S.C. § 1715(b) and that more than ninety

(90) days have elapsed since Defendant provided the required notice, as required by 28 U.S.C. §

1715(d).

       14.    Continuing Jurisdiction. Without affecting the finality of this Final Judgment, the

Court retains continuing jurisdiction over (a) implementation of the Agreement, distribution of the

settlement payments, Incentive Award, and attorneys’ fees and costs contemplated by the

Agreement, and processing of the claims permitted by the Agreement, until each and every act
agreed to be performed pursuant to the Agreement has been performed, and (b) all parties to this

Action and members of the Settlement Class for the purpose of enforcing and administering the

Agreement.

       15.    Incentive Award. As an incentive payment in compensation for the time, effort,

and risk they undertook as representatives of the Settlement Class, the Court hereby awards

  5,000.00 each to Kyle Sullivan and Jeanne Sloan.
$_________

       16.    Class Counsel Fee and Cost Award. The Court hereby awards attorneys’ fees and

costs to compensate Class Counsel for their time incurred and costs advanced. The Court has

concluded that:   (a) Class Counsel achieved a favorable result for the Class by obtaining

Defendant’s agreement to make available to Settlement Class Members certain monetary and non-
monetary relief; (b) Class Counsel devoted substantial effort to pre-and post-filing investigation,

legal analysis, and litigation; (c) Class Counsel prosecuted the Class’s claims on a contingent-fee

basis, investing significant time and accumulating costs with no guarantee that they would receive

compensation for their services or recover their costs; (d) Class Counsel employed their knowledge

of and experience with class action litigation in achieving a valuable settlement for the Class, in

spite of Defendant’s possible legal defenses and their experienced and capable counsel; (e) Class

Counsel have standard contingent fee agreements with Representative Plaintiff, who has reviewed

the Agreement and been informed of Class Counsel’s attorney fee and cost application and has

approved; (f) the Class Notice informed Settlement Class Members of Class Counsel’s fee and

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cost request under the Agreement; and (g) Class Counsel filed and posted their Fee Application in

time for Settlement Class Members to make a meaningful decision whether to object to the Fee

Application.   For these reasons, the Court hereby approves Class Counsel’s Fee and Cost

Application and awards to Class Counsel fees and costs in the total aggregate amount of
 300,000.00 All such fees and costs are in lieu of statutory fees and costs that Representative
$_________.

Plaintiffs and/or the Settlement Class might otherwise have been entitled to recover.

       17.    Payment Timing. Defendant shall pay the fee and cost award to Class Counsel and

the Service Award to Representative Plaintiffs, as well as amounts due to eligible Settlement Class
Members who timely filed a claim under the Agreement, in accordance with and at the times

prescribed by the Agreement.




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IT IS SO ORDERED.


        May 22, 2018
Dated: _____________                  /s/ Janet T. Neff
                                     UNITED STATES DISTRICT COURT JUDGE

Presented by:



 Dated: _____________                     Respectfully submitted,

                                          /s/ Gary F. Lynch
                                          Gary F. Lynch
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 Dated: _____________                     Respectfully submitted,

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